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 1 BENJAMIN B. WAGNER
   United States Attorney
 2 KAREN A. ESCOBAR
   Assistant United States Attorney
 3 2500 Tulare St., Suite 4401
   Fresno, CA 93721
 4 Telephone: (559) 497-4000
   Facsimile: (559) 497-4575
 5
   Attorneys for Plaintiff
 6 United States of America

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 8                             IN THE UNITED STATES DISTRICT COURT

 9                                EASTERN DISTRICT OF CALIFORNIA

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11   UNITED STATES OF AMERICA,                           CASE NO. 1:14-cr-0196 LJO-SKO
12                                Plaintiff,
                                                         STIPULATION AND ORDER
13                 v.                                    REGARDING CHANGE OF PLEA
                                                         AND EXCLUDABLE TIME PERIODS
14   LUIS RICARDO ESLAVA-CORRAL,                         UNDER SPEEDY TRIAL ACT
15                                Defendant.
16
                                               STIPULATION
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            Plaintiff United States of America, by and through its counsel of record, and defendants, by
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     and through their counsel of record, hereby stipulate as follows:
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20          1.      By previous order, this matter was set for a preliminary hearing on Monday,

21 September 8, 2014, at 1:30 p.m. before U.S. Magistrate Judge Stanley A. Boone. A grand jury

22 returned an indictment in this matter on Thursday, September 4.

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            2.      By this stipulation, the parties move to vacate the arraignment and plea on the
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     indictment as to the above-named defendant only, set it for a change of plea before U.S. District
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     Judge Lawrence J. O’Neill on September 22, 2014, at 9:30 p.m. and to exclude time between
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27 September 8, 2014, and September 22, 2014.

28          3.      The parties agree and stipulate, and request that the Court find the following:
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            a.      The defense needs additional time to review and execute the plea agreement. Defense
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     counsel is unavailable for a change of plea on September 15.
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 3          b.      The parties believe that failure to grant the above-requested continuance would deny

 4 the defendant the reasonable time necessary for effective resolution, taking into account the exercise

 5 of due diligence, and would deny continuity of counsel for the defendant.

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            d.      Based on the above-stated findings, the ends of justice served by continuing the case
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     as requested outweigh the interest of the public and the defendant in a trial within the original date
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     prescribed by the Speedy Trial Act.
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10          e.      For the purpose of computing time under the Speedy Trial Act, 18 U.S.C. § 3161, et

11 seq., within which trial must commence, the time period of September 8, 2014, to September 22,

12 2014, inclusive, is deemed excludable pursuant to 18 U.S.C.§ 3161(h)(7)(A), B(iv) because it results

13 from a continuance granted by the Court at defendant’s request on the basis of the Court's finding

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     that the ends of justice served by taking such action outweigh the best interest of the public and the
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     defendant in a speedy trial.
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            4.      Nothing in this stipulation and order shall preclude a finding that other provisions of
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18 the Speedy Trial Act dictate that additional time periods are excludable from the period

19 within which a trial must commence.
20 IT IS SO STIPULATED.

21
     DATED:         September 5, 2014.     Respectfully submitted,
22
                                           BENJAMIN B. WAGNER
23                                         United States Attorney
24
                                           /s/ Karen A. Escobar___________________
25                                         KAREN A. ESCOBAR
                                           Assistant United States Attorney
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 1 DATED:           September 5, 2014.
 2                                       /s/ Kyle Humphrey _____________
                                         KYLE HUMPHREY
 3                                       Counsel for Defendant Eslava-Corral
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 7 IT IS SO ORDERED.

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     Dated:     September 5, 2014
 9                                                  UNITED STATES MAGISTRATE JUDGE

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